         Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 1 of 11




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 United States of America,

                         v.
                                                              Case No. 21-cr-028 (APM)
 Jessica Watkins,

                 Defendant.


                              MEMORANDUM IN SUPPORT OF RELEASE

       Jessica Watkins, through counsel, respectfully files supplement to her request for release

on bail, subject to conditions as the Court deems appropriate.

                                          Legal Standard

       The Supreme Court has made clear that “[i]n our society liberty is the norm, and

detention prior to trial or without trial is the carefully limited exception.” United States. v.

Salerno, 481 U.S. 739, 755 (1987). That is why “[t]here can be no doubt that this Act clearly

favors nondetention.” United States. v. Byrd, 969 F.2d 106, 109 (5th Cir. 1992) (emphasis

added). Instead, the Bail Reform Act requires the Court to impose the “least restrictive” means

of ensuring the appearance of the person and safety to the community. 18 U.S.C.

§ 3142(c)(1)(B). Only in “rare circumstances should release be denied,” and any “doubts

regarding the propriety of release should be resolved in the defendant’s favor.” United States v.

Gebro, 948 F.2d 118, 1121 (9th Cir. 1991) (emphasis added); United States v. Stone, 608 F.3d

939, 945 (6th Cir. 2010) (“The default position of the law, therefore, is that a defendant should

be released pending trial.”).

       When Congress passed the Bail Reform Act (“BRA”), it was looking to detain fewer

people pretrial, not more. Congress knew that federal charges are serious, that mandatory


                                                   1
         Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 2 of 11




minimums are frequently asserted, and that sentencing exposure is enormous for most

individuals accused in the federal system—yet, it still crafted a law acknowledging that

detention is only appropriate for that “small but identifiable group of particularly dangerous

defendants.” United States v. Singleton, 182 F. 3d 7, 13 (D.C. Cir. 1999) (emphasis added)

(quoting S. Rep. No. 225, 98th Cong., 1st Sess. 6-7, reprinted in U.S. Code Cong. & Ad. News

3189, 1983 WL 25404, at *3189).

       To further this goal, Congress restricted the government’s ability to request detention.

Specifically, the BRA provides that the government may request a bail hearing only if certain

conditions in § 3142 are present—e.g., the defendant is charged with a crime of violence, faces a

life sentence, death, or a drug offense with a 10-year or greater penalty, or poses a “serious risk”

that he will “flee” or “obstruct justice.” See 18 U.S.C. § 3142(f)(1)–(2).

       If none of the conditions are met, then “a pretrial detention hearing may not be held, and

the defendant must be released pending trial under the conditions set forth in § 3142(a).” United

States v. Tadlock, 399 F. Supp. 2d 747, 750 (S.D. Miss. 2005) (citing United States v. Byrd, 969

F.2d 106, 109 (5th Cir. 1992); Singleton, 182 F.3d at 9 (“Absent of these circumstances,

detention is not an option.”); United States v. Ploof, 851 F.2d 7, 9–10 (1st Cir. 1988) (“3142(f)

does not authorize a detention hearing whenever the government thinks detention would be

desirable, but rather limits such a hearing to the [six circumstances listed in § 3242(f)]”).

       Importantly, the Bail Reform Act does not permit the government to request a bail

hearing on dangerousness alone—and courts may not detain defendants on dangerousness alone.

United States v. Twine, 344 F.3d 987, 987 (9th Cir. 2003) (“We are not persuaded that the Bail

Reform Act authorizes pretrial detention without bail based solely on a finding of

dangerousness. This interpretation of the Act would render meaningless 18 U.S.C. § 3142(f)(1)



                                                  2
         Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 3 of 11




and (2). Our interpretation is in accord with our sister circuits who have ruled on this issue.”).

Indeed, the Government must first establish one of the grounds in § 3142(f) “as a prerequisite to

the court considering the factor of danger . . . .” Office of the United States Attorneys, Criminal

Resource Manual: Release and Detention Pending Judicial Proceedings; 1 see also Ploof, 851

F.2d at 11 (“We believe, however, the structure of the statute and its legislative history make it

clear that Congress did not intend to authorize preventive detention unless the judicial officer

first finds that one of the § 3142(f) conditions for holding a detention hearing exists.”) (citations

omitted).

                                             Argument

       In this case, the government cannot satisfy any of the conditions set forth in § 3142(f) to

request a detention hearing. Ms. Watkins is charged by indictment with four counts:

1) conspiracy, in violation of 18 U.S.C. § 371; 2) obstruction of an official proceeding, in

violation of 18 U.S.C. § 1512(c)(2); 3) destruction of government property, in violation of 18

U.S.C. § 1361; and 4) entering and remaining in a restricted building or grounds, in violation of

18 U.S.C. § 1752(a)(1). See Indictment, ECF No. 3.

       The only provision under § 3142(f) that could arguably authorize a detention hearing in

this case is § 3142(f)(1)(A), which allows for a detention hearing in cases that involves 1) a

“crime of violence” or 2) “an offense listed in section 2332(b)(g)(5)(B) for which a maximum

term of imprisonment of 10 years or more is prescribed.” 2 For reasons discussed below, none of


1
 Available at https://www.justice.gov/usam/criminal-resource-manual-26-release-and-detention-
pending-judicial-proceedings-18-usc-3141-et (last visited Feb. 23, 2021).
2
  The only other plausible provision the government could rely upon is § 3142(f)(2)(A), which
authorizes a detention hearing in a case that involves “a serious risk that such person will flee.”
Id. (emphasis added). Many arguments related to flight risk have already been addressed in
Ms. Watkins’s prior filings, see ECF Nos. 26-27, and will not be repeated again here. Moreover,
the Court has already indicated it does not view Ms. Watkins as a serious risk of flight. See
                                                  3
         Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 4 of 11




the charges against Ms. Watkins satisfy § 3142(f)(1)(A). And because of this, Ms. Watkins

must be released pending trial under the conditions set forth in § 3142(a).

       A. § 3142(f)(1)(A) is inapplicable because the alleged § 1361 violation is not a
          “crime of violence.”

       While § 3142(f)(1)(A) permits the government to request detention in a case that

involves a “crime of violence,” Ms. Watkins is not charged with a crime of violence. A “crime

of violence,” means—

       (A) an offense that has as an element of the offense the use, attempted use, or threatened
           use of physical force against the person or property of another [known as the
           “elements clause”]; or

       (B) any other offense that is a felony and that, by its nature, involves a substantial risk
           that physical force against the person or property of another may be used in the
           course of committing the offense [known as the “residual clause”].

18 U.S.C. 3156(a)(4)(A).

       When interpreting similarly worded statutes defining a “crime of violence,” the Supreme

Court has repeatedly held that the residual clause is unconstitutionally vague. See, e.g., United

States v. Davis, 139 S. Ct. 2319 (2019) (invalidating the residual clause in 18 U.S.C. § 924(c)).

Accordingly, the residual clause cannot be relied on to determine whether the alleged § 1361

violation qualifies as a “crime of violence.” 3 The only question, then, is whether § 1361 “has as

an element of the offense the use, attempted use, or threatened use of physical force against the

person or property of another?” It does not.


Transcript, ECF No. 35 at 13 (“And I’ll just tell you right now: I don’t buy that Ms. Watkins
meets the definition of ‘serious risk of flight.’”).
3
  At the hearing, the government cited to United States v. Wisecarver, No. 08-cr-50087, 2009
WL 10696988 (D.S.D. 2009) to argue that prior cases have held § 1361 qualifies as a crime of
violence. This case is not persuasive because its reasoning was based entirely on the defunct
residual clause. See id. at *1 (“The Court believes that destruction of government property is an
offense that ‘by its nature, involves a substantial risk that the physical force against the …
property of another may be used in the course of committing the offense.”).

                                                  4
         Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 5 of 11




       Section 1361 provides “Whoever willfully injures or commits any depredation against

any property of the United States, or of any department or agency thereof, or any property which

has been or is being manufactured or constructed for the United States, or any department or

agency thereof, or attempts to commit any of the foregoing offenses” is guilty of depredation of

government property. See 18 U.S.C. § 1361.

       The term “depredation” is not defined in the statute, but Black’s Law dictionary defines

it as “[a]n act of taking or destroying something; esp. a plundering and pillaging.” Black’s Law

Dictionary (11th ed. 2019) (“depredation”) (emphasis added). There are myriad ways in which

one could take government property without using force (e.g., taking government property from

an empty office building), and there are many ways in which someone could destroy

government property without using force (e.g., spilling wine on the carpet or spraying graffiti on

property).

       Indeed, case law provides multiple examples of non-violent § 1361 convictions. See,

e.g., United States v. Mastropierro, 931 F.2d 905 (D.C. Cir. 1991) (§ 1361 conviction for

“defacing the United States Capitol with human blood to protest the condition of the homeless”);

United States v. Frankel, 739 F. Supp. 629 (D.D.C. 1990) (throwing blood on the United States

Capitol building); Liteky v. United States, 510 U.S. 540 (1994) (“spilling of human blood on

walls and various objects, at the Fort Benning Military Reservation”); Edwards v. United States,

361 F.2d 732 (8th Cir. 1966) (taking a medicine cabinet, a face bowl, and lead pipe from a

vacant home); United States v. Martin, 251 F. App’x 979, 980 (6th Cir. 2007) (“‘swinging

wooden doors separating the spectators from participants’ in a federal courtroom and causing

damage”); United States v. Donner, 497 F.2d 184 (7th Cir. 1974) (damaging secret service

records through spray paint and other means); United States v. Randall, 435 F. App’x 707, 708



                                                5
         Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 6 of 11




(9th Cir. 2011) (cutting two maple trees from the Olympic National Forest); United States v.

Rebich, 85 F. 3d 639 (9th Cir. 1996) (stealing a deer head); United States v. Barringer, 248 F.

App’x 754, 755 (7th Cir. 2007) (scratching “USM” on a government vehicle). At this very

moment, the government is prosecuting an individual in this Court under § 1361 for “applying

spray paint to a granite wall on the Lincoln Memorial property.” See Indictment in United

States v. Avery, 20-cr-109-ABJ, ECF No. 11 (D.D.C. July 14, 2020).

       The Supreme Court has repeatedly instructed that in construing these types of statutes,

“we cannot forget that we ultimately are determining the meaning of the term ‘crime of

violence.’ The ordinary meaning of this term . . . suggests a category of violent, active

crimes[.]” See Leocal v. Ashcroft, 543 U.S. 1, 11 (2004). No one could credibly suggest that

taking government property from a vacant building, closing a door too hard, or spray painting a

government building are ordinarily understood as “violent.” See United States v. Bowen, 936

F.3d 1091, 1104 (10th Cir. 2019) (“And we easily conclude that the act of spray-painting

another’s car does not entail the use of violent force.”). Because of that, § 1361 is not a crime of

violence.



       B. § 3142(f)(1)(A) is inapplicable because the alleged § 1361 violation does not
          qualify as an offense listed in section 2332b(g)(5)(B) for which a maximum term
          of imprisonment of 10 years or more is prescribed.

       Section § 3142(f)(1)(A) also authorizes a detention hearing in a case that involves “an

offense listed in section 2332(b)(g)(5)(B) for which a maximum term of imprisonment of 10

years or more is prescribed.” Id. (emphasis added). In other words, it is simply not enough to

be an offense listed under § 2332(b)(g)(5)(B), it must also have a penalty of “10 years or more.”




                                                 6
         Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 7 of 11




       In this case, § 2332(b)(g)(5)(B) lists a violation of § 1361 as an enumerated offense.

However, the penalty associated with § 1361 is “not more than one year” if the damage or

attempted damage is $1,000 or less, and “not more than ten years” if the damage or attempted

damage is more than $1,000. See § 1361 (emphasis added).

       The government’s position is that since there is a one-day overlap between “10 years or

more” and “not more than ten years”—i.e., exactly 10 years—this case is eligible for a detention

hearing under § 3142(f)(1)(A). Ms. Watkins respectfully disagrees.

       As a preliminary matter, using a one-day overlap to justify detention under

§ 3142(f)(1)(A) does not seem to effectuate Congress’s intent that pretrial detention be limited

to “a subset of defendants charged with crimes that are ‘the most serious’ compared to other

federal offenses.” Singleton, 182 F. 3d 7, 13 (D.C. Cir. 1999) (quoting Salerno, 481 U.S. at 747)

(emphasis added). Section 1361 has a sentencing exposure of 10 years or less; section

3142(f)(1)(A) only authorizes detention hearings with a sentencing exposure of 10 years or

more—i.e., only for the most serious crimes. Simply because § 1361’s potential sentencing

exposure overlaps one-day with the most serious crimes, does not mean § 1361 is itself one of

the most serious crimes—indeed, it shows the opposite.

       Moreover, Congress made clear that “[n]othing in [the BRA] shall be construed as

modifying or limiting the presumption of innocence,” § 3142(j), and yet, the government’s

interpretation does just that. Under the government’s view, Ms. Watkins would be eligible

under § 3142(f)(1)(A) by just one day. The problem, though, is that finding she is barely

eligible under § 3142(f)(1)(A) would necessarily trigger a rebuttable presumption in favor of

detention under 3142(e)(3)(C), because both findings are based on the enumerated clause of

§ 2332b(g)(5)(B). Thus, the governments’ interpretation leads to the following absurdity:



                                                7
         Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 8 of 11




Ms. Watkins goes from being just barely eligible to have a detention hearing in the first place, to

simultaneously being subject to a rebuttable presumption of detention. Both Congressional

intent and common sense suggest that there should be some daylight between the two.

       Congress intended for the presumption under § 3142(e) to be limited to an even smaller

subset of defendants than those charged with the most serious crimes. That is, the presumption

was meant to apply to defendants charged with only the most serious of the most serious

crimes—crimes that are categorically “so strongly suggestive of a person’s willingness or

inclination to resort to criminal violence as to warrant the inference that the person would be a

danger to society even if released on the most restrictive conditions.” S. Rep. No. 225, 98th

Cong., 1st Sess. 6-7, reprinted in U.S. Code Cong. & Ad. News 3189, 1983 WL 25404, at

*3202. As discussed above, people are frequently charged under § 1361 for spray painting

graffiti or defacing property—i.e., offenses that do not suggest the individual will categorically

pose a danger to society if released under the most stringent conditions. The government’s

interpretation is thus at odds with Congressional intent. And the “[i]nterpretative uncertainty

must be resolved in light of the foregoing Congressional intent.” Singleton, 182 F.3d at 13.

       For the above reasons, this Court should find that an offense under § 1361 does not

trigger eligibility for a detention hearing in this case under § 3142(f)(1)(A)—or a rebuttable

presumption under § 3142(e)(3)(C) at the same time. If there are any doubts, the rule of lenity,

which “requires ambiguous laws to be interpreted in favor of the defendants subject to them,”

provides this Court with additional support for finding that § 3142(f)(1)(A) is inapplicable here.

See United States v. Santos, 553 U.S. 507, 514 (2008); see also United States v. Davis, 139 S.

Ct. 2319, 2333 (2019) (“Employing the canon as the government wishes would also sit uneasily

with the rule of lenity’s teaching that ambiguities about the breadth of a criminal statute should



                                                 8
             Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 9 of 11




be resolved in the defendant’s favor.”); Singleton, 182 F.3d at 13 (“Interpretative uncertainty [in

the BRA context] must be resolved in light of the foregoing understanding of Congressional

intent.”).

        C. The government cannot meet its burden of proving that Ms. Watkins poses a
           serious flight risk under § 3142(f)(2)(A) for a simple reason: she doesn’t.

        Finally, the government seeks detention under § 3142(f)(2)(A) “for risk of flight, given

defendant’s lack of ties to the community.” Gov’t Mem., ECF No. 4 at 6. While the Court has

already signaled it does not view Ms. Watkins as a serious risk of flight counsel offers the

following in case the government still intends to pursue this avenue. Under § 3142(f)(2)(A),

ordinary risk of flight is not a permissible basis for detention; rather, the statute only authorizes

detention if there is a “serious risk” that Ms. Watkins will flee.” § 3142(f)(2)(A) (emphasis

added). And the government bears the burden of presenting some evidence to substantiate its

allegation that a defendant poses a serious flight risk, a burden the government has not—and

cannot—meet. See United States v. Himler, 797 F.2d 156, 160 (3d Cir. 1986) (A defendant

“may be detained only if the record supports a finding that he presents a serious flight risk”

(emphasis added)).

        Although the defense bears no burden of proof, it is clear from Ms. Watkins’s history and

characteristics that she does not pose a serious risk of flight. She has no prior convictions. She

has no history of non-compliance. And there is no indication that she has ever sought to flee

from any court proceeding. See United States v. Cruz, 363 F. Supp. 2d 40, 47 (D.P.R. 2005)

(denying the Government’s motion to detain a person who frequently traveled internationally,

had two passports and other fraudulent documents in his possession, and faced an advisory

sentence of 33-41 months imprisonment where the “vast majority of [his] family, economic and

social ties are in this jurisdiction” and “the government has presented no concrete evidence to the

                                                   9
          Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 10 of 11




effect that defendant was fleeing the jurisdiction, or was taking affirmative steps to do so. . . .”).

Indeed, as noted in our prior pleading, Ms. Watkins turned herself in.

          The BRA’s legislative history makes clear that detention based on serious flight risk is

only appropriate under “extreme and unusual circumstances.” 4 For example, the case relied on

in the legislative history as extreme and unusual enough to justify detention on the grounds of

serious risk of flight involved a defendant who was a fugitive and serial impersonator, had failed

to appear in the past, and had recently transferred over a million dollars to Bermuda. See

Abrahams, 575 F.2d at 4. The government can come nowhere close to demonstrating that

Ms. Watkins’s risk of flight rises to a similar extreme or unusual level.

          In addition, a defendant should not be detained as a “serious risk” of flight when the risk

of non-appearance can be mitigated by conditions of release. The only defendants who qualify

for detention under § 3142(f)(2) are those who are “[t]rue flight risks”—defendants the

government can prove are likely to flee the jurisdiction with the intention of thwarting the

judicial process. See, e.g., Lauryn Gouldyn, Defining Flight Risk, 85 U. Chi. L. Rev. 677, 724

(2017).



4
  See Bail Reform Act of 1983: Rep. of the Comm. on the Judiciary, 98th Cong. 48 (1983)
(“Under subsection f(2), a pretrial Detention Hearing may be held upon motion of the attorney
for the government or upon the judicial officer's own motion in three types of cases. . . . [T]hose
[types] involving . . . a serious risk that the defendant will flee . . . reflect the scope of current
case law that recognizes the appropriateness of denial of release in such cases.”) (emphasis
added) (citing United States v. Abrahams, 575 F.2d 3, 8 (1st Cir. 1978)—which held that only a
“rare case of extreme and unusual circumstances . . . justifies pretrial detention”—as
representing the “current case law”); see also Gavino v. McMahon, 499 F.2d 1191, 1995 (2d Cir.
1974) (holding that in a noncapital case the defendant is guaranteed the right to pretrial release
except in “extreme and unusual circumstances”); United States v. Kirk, 534 F.2d 1262, 1281 (8th
Cir. 1976) (holding that bail can only be denied “in the exceptional case”).




                                                   10
        Case 1:21-cr-00028-APM Document 41 Filed 02/25/21 Page 11 of 11




       There is no other basis to detain Ms. Watkins in this case. Because there is no basis to

detain Ms. Watkins under § 3142(f), she should be released immediately under whatever

conditions the Court deems appropriate.


                                                    Respectfully submitted,

                                                    A.J. KRAMER
                                                    Federal Public Defender

                                                    _________/s/_________________
                                                    Michelle Peterson
                                                    Chief Assistant Federal Public Defender
                                                    Federal Public Defender’s Office
                                                    625 Indiana Ave NW, Suite 550
                                                    Washington, D.C. 20004
                                                    (202) 208-7500




                                               11
